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     Federal Defender
 2   TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   PAUL STEVEN GREEN
 7
 8
 9                         IN THE UNITED STATES DISTRICT COURT
10                       FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )        No. 2:06-CR-257 WBS
                                     )
13                  Plaintiff,       )        STIPULATION AND ORDER
                                     )        CONTINUING STATUS CONFERENCE
14        v.                         )        AND EXCLUDING TIME
                                     )
15   PAUL STEVEN GREEN,              )
                                     )        Date: August 25, 2008
16                  Defendant.       )        Time: 8:30 a.m.
                                     )        Judge: Hon. William B. Shubb
17   _______________________________ )
18
19           IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
20   of America, and defendant, Paul Steven Green, that the status conference
21   scheduled for August 25, 2008 may be continued to September 29, 2008 at
22   8:30 a.m.
23           Defense counsel continues to seek time for factual investigation and
24   to continue collecting information helpful in resolving the charges.     In
25   order to complete tasks necessary to resolution, the parties agree that
26   time under the Speedy Trial Act should be excluded from the date of this
27   /////
28   /////
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 1   order through the status conference on September 29, 2008, pursuant to 18
 2   U.S.C. § 3161(h)(8)(A) and (B)(iv)(Local Code T4).
 3                                            Respectfully submitted,
 4                                            DANIEL J. BRODERICK
                                              Federal Defender
 5
 6   Dated: August 20, 2008                   /s/ T. Zindel
                                              TIMOTHY ZINDEL
 7                                            Assistant Federal Defender
                                              Attorney for PAUL S. GREEN
 8
 9                                            McGREGOR SCOTT
                                              United States Attorney
10
11   Dated: August 20, 2008                   /s/ T. Zindel for M. Stegman
                                              MATTHEW STEGMAN
12                                            Assistant U.S. Attorney
13
14                                       O R D E R
15          The status conference is continued to September 29, 2008 at 8:30
16   a.m.    Time under the Speedy Trial Act is excluded through that date for
17   the reasons stated above and by agreement of the parties, the court
18   finding that the ends of justice to be served by a continuance outweigh
19   the best interests of the defendant and the public in a speedy trial.
20          IT IS SO ORDERED.
21   Dated: September 26, 2008
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     Stip. in U.S.A. v. P. Green              2
